Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 1 of 29 Page ID #:8463



    1                     UNITED STATES DISTRICT COURT

    2                    CENTRAL DISTRICT OF CALIFORNIA

    3                               WESTERN DIVISION

    4        THE HON. JUDGE JAMES V. SELNA, JUDGE PRESIDING

    5

    6   DAVID HAKIM, et al.,               )
                                           )
    7                     Plaintiffs,      )
                                           )
    8           vs.                        ) NO. 15-CV-05633-JVS
                                           )
    9   MURANO, INC., et al.,              )
                                           )
   10                     Defendants.      )
        ___________________________________)
   11

   12

   13

   14                REPORTER'S TRANSCRIPT OF PROCEEDINGS

   15                          Los Angeles, California

   16                         Monday, December 12, 2016

   17

   18

   19

   20

   21

   22                LISA M. GONZALEZ, CSR No. 5920, CCRR
                           U.S. District Courthouse
   23                  350 West 1st Street - Suite 4455
                         Los Angeles, California 90012
   24                             213.894.2979
                              www.lisamariecsr.com
   25

                       Lisa   M.   Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 2 of 29 Page ID #:8464



    1   APPEARANCES:

    2

    3   FOR THE PLAINTIFFS:        ADLI LAW GROUP
                                   BY: DARIUSHI ADLI, ESQ.
    4                              444 South Flower Street
                                   Suite 3100
    5                              Los Angeles, California 90071
                                   (213) 623-6456
    6

    7
        FOR THE DEFENDANTS:        LAW OFFICES OF JEFFERY SPELLERBERG
    8                              BY: JEFFERY SPELLERBERG, ESQ.
                                   8200 Wilshire Boulevard
    9                              Suite 415
                                   Beverly Hills, California 90211
   10                              (310) 943-8990

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

                       Lisa   M.   Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 3 of 29 Page ID #:8465

                                                                                    3

    1        Los Angeles, California; Monday, December 12, 2016;

    2                                  11:03 A.M.

    3                                    -o0o-

    4              THE CLERK:       Item Seven, Civil 15-5633-JVS, David

    5   Hakim, et al., versus Murano, Incorporated, et al.

    6              Counsel, please state your appearances for the

    7   record.

    8              MR. ADLI:       Good morning, Your Honor.         Dariush Adli

    9    from the Adli Law Group for the plaintiffs.

   10              THE COURT:       Good morning.

   11              MR. SPELLERBERG:       Good morning, Your Honor.        Jeff

   12   Spellerberg appearing for the defendants.

   13              THE COURT:       Good morning.

   14              I have the overwhelming sense that this matter is

   15   not ready for trial.

   16              MR. SPELLERBERG:       Well, I think that's a -- I

   17   think you have a good sense about that.

   18              I also have just filed a similar motion to the one

   19   that you're ruling on today that has to deal with the

   20   damages' issue.

   21              THE COURT:       Sir, what you filed at 11:54 last

   22   night and 12:14 and 12:18 this morning are untimely.

   23              MR. SPELLERBERG:       I was given a -- I'm sorry.        I

   24   probably didn't attach it -- I was given a notice from the

   25   judge or someone from the court that I was about to re-file

                       Lisa   M.   Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 4 of 29 Page ID #:8466

                                                                              4

    1   the -- what had happened was that we had met and conferred

    2   on these matters, Your Honor -- excuse me, let me go over

    3   here.   I had met and conferred with plaintiffs on the very

    4   motions that I filed; and what happened was when I did my

    5   declaration, I neglected to put the meet and confer

    6   statement in it.

    7              THE COURT:       Didn't the Court bring that to your

    8   attention?

    9              MR. SPELLERBERG:       The Court brought to my

   10   attention, said I was free to re-file them with a

   11   declaration.

   12              THE COURT:       Did you do that in a timely fashion?

   13              MR. SPELLERBERG:       Well, I think so.      What I

   14   attempted to do was to try to really add probably some more

   15   to the motion.    The motion has to do with the damages' issue

   16   because I think it's a very important issue.            I think it

   17   really needs to be heard in this matter because I'm

   18   absolutely certain that their disclosures are certainly

   19   inadequate, and there's nothing to be tried in this case on

   20   the damages' issue.        And we should probably be having just a

   21   bench trial on issues of equity.

   22              MR. ADLI:       May I, Your Honor?

   23              MR. SPELLERBERG:       So if it is untimely, I do

   24   apologize, Your Honor.        I did want to make a good and

   25   accurate motion for this case.

                       Lisa   M.   Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 5 of 29 Page ID #:8467

                                                                                      5

    1              THE COURT:       Well, sir, this is actually the third

    2   set of motions in limine you filed.          I continued the trial

    3   because of the family emergency, and I had ordered those

    4   original motions off calendar.          We reset a pretrial

    5   conference, we reset dates for motions in limine, and

    6   plaintiffs refiled on the appropriate date.            We had the meet

    7   and confer statement.        You filed two motions, no statement.

    8   I ordered them off calendar again.

    9              MR. SPELLERBERG:       Yes, Your Honor, but I had -- I

   10   had met and conferred with him back in August.               And again

   11   when I met and conferred with him this time around, the

   12   other -- attorney for the plaintiff said, "You're going to

   13   have to wait another seven days before you filed them."              And

   14   I didn't know if that was true or not, but I waited another

   15   seven days and then got to work more on the motions and let

   16   some time slip by.

   17              MR. ADLI:       Your Honor, we are ready for trial.           We

   18   have been ready for trial --

   19              THE COURT:       Did you have your 40-day conference?

   20   Did you have your 40-day conference?

   21              MR. ADLI:       Counsel was unavailable to meet and

   22   confer.

   23              THE COURT:       So the answer is:      No, you didn't have

   24   your 40-day conference?

   25              MR. ADLI:       That is correct.

                       Lisa   M.   Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 6 of 29 Page ID #:8468

                                                                                  6

    1              But my point, Your Honor --

    2              THE COURT:        But my point is this matter is not

    3   ready for trial.      There's a lot of stuff that you have to

    4   accomplish at that 40-day conference.

    5              MR. ADLI:        But, Your Honor, here's the point in

    6   this case.   As Your Honor has already pointed out, this is

    7   not the first time.         For some reason, counsel goes radio

    8   silent, completely unavailable.           Completely.    And then shows

    9   up at the last second, which we said maybe their client

   10   isn't paying them, maybe they're not interested anymore,

   11   maybe they went back to Ohio, whatever happened they're not

   12   in this case anymore.         And then the last second literally,

   13   they stick their head above the water again, say, "We're

   14   here."

   15              The procedure should be taken seriously.            They

   16   didn't do any discovery other than a single deposition.

   17   They made -- I don't want to say excuse -- fine.              We're

   18   sympathetic.    They have their mother and family situation,

   19   but they wanted to delay the trial for one year as a result

   20   of that.   We said:        No, there is no justification.

   21              And now they're here again.             Your Honor is of the

   22   belief that this case is not ready for trial, whereas there

   23   hasn't been any discovery on their side.             Whatever Your

   24   Honor prefers, but we're ready.

   25              THE COURT:        Well, you can't be ready, sir, if you

                       Lisa   M.    Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 7 of 29 Page ID #:8469

                                                                                   7

    1   haven't done all the things for the 40-day conference.               You

    2   can't be ready if you haven't identified the documents, the

    3   exhibits at the 40-day conference.

    4              MR. ADLI:       We have identified the documents per

    5   16.2-3 which Your Honor has directed us to do.               We've

    6   identified all those documents.

    7              THE COURT:       You've both done that?

    8              MR. ADLI:       Well, the other side has defaulted in

    9   effect.   There can't be -- there can't be no consequences.

   10   If they don't participate, they're done.            We have submitted

   11   the memorandum of facts and law.          That's the one that should

   12   not be amended, we believe, the pretrial conference order.

   13   I don't know what we can do.           I mean, this conduct is just

   14   beyond the pale.

   15              THE COURT:       Why didn't you participate in the

   16   preparation of the pretrial conference order?

   17              MR. SPELLERBERG:        Are you speaking to me?

   18              THE COURT:       Yes.

   19              MR. SPELLERBERG:        Well, I -- I -- in this case, I

   20   did participate in it, and these guys went radio silent on

   21   me as well.    We -- I was the last one --

   22              THE COURT:       Do I have a joint proposed pretrial

   23   conference order?

   24              MR. SPELLERBERG:        No, we don't.     I have drafted

   25   one, Your Honor, from my side of the fence.

                       Lisa   M.   Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 8 of 29 Page ID #:8470

                                                                                 8

    1              THE COURT:       Sir, that's not what's required.     It's

    2   not required -- you don't submit two separate orders to the

    3   Court, you submit a joint one.          If you got disputes, it goes

    4   in the order, and you flag it.

    5              MR. SPELLERBERG:       Okay.    So when it came down to

    6   the joint trial conference, the last communication I had

    7   with the other side was I contacted them on the 18th of

    8   November and said, "Here's what we need" -- there was a list

    9   of things that needed to be done.          I didn't hear from them

   10   for 12 days.    The only day I heard from them was at 3:45 on

   11   the day that the joint conference was due, and then said,

   12   "Where's your paperwork?"        The next day they filed it, and

   13   that was it.

   14              In my opinion, I think there is a communication

   15   problem between the attorneys on this case, but I don't

   16   think I'm the only one that's responsible for it.

   17              I think there's a lot of slipping and sliding and

   18   things are being done in a different manner than I think is

   19   at all fair.    I think there's -- I mean, I'm being accused

   20   of writing emails and stuff when I have not seen or gotten

   21   one single email from these people in the last 20 days, or

   22   whatever it is that Mr. Sherman says in his declaration is

   23   false.   I am not -- he has not tried to contact me once, and

   24   yet he's done this -- this is the second time he's done this

   25   where he claims that he sent me emails.            I would love to see

                       Lisa   M.   Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 9 of 29 Page ID #:8471

                                                                                9

    1   the e-mails that he sent me.           Claims to have sent me.

    2               MR. ADLI:      Your Honor, didn't they say when they

    3   filed untimely just a couple of days ago, their pretrial

    4   conference order, didn't they say they thought it was filed

    5   three weeks ago --

    6               THE COURT:      That was the representation.

    7               MR. ADLI:      Again, we'll be happy to produce all of

    8   the communications.        We will be happy to do that, but they

    9   can't get away with this making statements that just aren't

   10   true.   They defaulted; they're done.

   11               THE COURT:      Where are the witness lists that are

   12   required for the pretrial conference 21 days in advance?

   13               MR. ADLI:      Your Honor, we have identified all --

   14               THE COURT:      No, no, no.    You're suppose to file

   15   with the Court, each side, your witness list 21 days in

   16   advance for the preparation for the pretrial conference.            I

   17   don't have that from either side.

   18               MR. SPELLERBERG:      Your Honor, I prepared a witness

   19   list and met and conferred with him and had it, and I was

   20   offering to give them the actual documents that I would use

   21   at trial.    And I was under the misunderstanding that they

   22   were supposed to supply me with documents all at the same

   23   time.

   24               And all I got from them at the pretrial conference

   25   was a list of maybe 100 items that didn't have any numbers

                       Lisa   M.   Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 10 of 29 Page ID
                                 #:8472
                                                                         10

 1   on it, didn't have any dates on it, didn't have any page

 2   numbers, didn't have anything on it.

 3              And I'd given them a list that we were going to go

 4   over and change -- I'd given at least my exhibit numbers and

 5   dates and things like that on it that I was trying to

 6   produce.   And I haven't seen that, and I haven't seen the

 7   depositions either.        We have deposition transcripts we're

 8   supposed to go through, and I haven't heard a word about

 9   that.   And I've been going through mine.           I have got mine

10   ready to go, but -- again, that's not ready for probably

11   another time and matter for my side.

12              THE COURT:       I'm going to vacate the trial date and

13   all other dates.      You can file a joint application to re-set

14   the trial date provided you provide a declaration showing

15   compliance with each part of Rule 16 and a joint pretrial

16   conference order.

17              The pretrial conference order that's been

18   submitted just goes on forever.          I can't believe that all of

19   those claims are going to be tried and all of those

20   affirmative defenses are going to be tried.            We'd be here

21   until the cows come home.

22              MR. ADLI:       Your Honor, will there be any

23   consequences for defendants' attorney's conduct?             This is

24   the second time.

25              THE COURT:       Well, sir, there are consequences to

                    Lisa   M.   Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 11 of 29 Page ID
                                 #:8473
                                                                         11

 1   both of you.    You each have got affirmative claims, damage

 2   claims.   Neither of you are going to go to trial until the

 3   case is ready to go to trial.          I'm going to hear the first

 4   two motions in limine.        I'm not going to hear the third one,

 5   which was never submitted.        Just never submitted.      Period.

 6               MR. ADLI:      Your Honor, we also have Motion in

 7   Limine Number 3, which asks for exclusion of all documents

 8   not produced and Your Honor denied that without prejudice

 9   and asked to be more specific, and we have been more

10   specific.   Specifically, we want documents relating to the

11   Anni (phonetic), the Canadian company, excluded.             Those were

12   not produced in discovery.

13               THE COURT:      Well, sir, you should have been more

14   specific in your motion.        I'm not going to rule in the

15   abstract --

16               MR. ADLI:      Your Honor, we filed another one, we

17   filed a new one this morning --

18               THE COURT:      Sir --

19               MR. ADLI:      -- because the other one was denied

20   without prejudice, and you asked us to be more specific,

21   which we are now.      That's what I'm saying following up with

22   the Court's prior order.

23               THE COURT:      Well, that's what we're going to do.

24   If you gentlemen would like to try this case, you're going

25   to sit down, you're going to go through everything that's

                    Lisa   M.   Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 12 of 29 Page ID
                                 #:8474
                                                                         12

 1   required in Rule 16.         You're going to put in the joint

 2   declaration that you've done all those things, and then you

 3   can bring out an application to set a trial date.

 4               MR. ADLI:       That will be fine, Your Honor.     We'll

 5   do whatever you like, but my question is if Your Honor

 6   doesn't set like a deadline, like maybe a --

 7               THE COURT:       Sir, sir, sir --

 8               MR. ADLI:       They're not going to do -- the same

 9   thing again.

10               THE COURT:       Well, sir, you've got to work

11   together.    If you're not having cooperation, ask for a

12   conference with the Court.         I do expect you to cooperate and

13   get this done.    If you're having problems, you ask for a

14   status conference.         And I do expect you to cooperate and to

15   make yourselves available.

16               To use your terms, no "radio silence."           I expect

17   you to check your correspondence and your emails so that you

18   can respond to one another in a timely manner.

19               MR. ADLI:       Any kind of extension, Your Honor, of

20   the trial date should not be very long because we've been

21   extending as Your Honor knows.          Short extension is fine, but

22   not -- long extension is not necessary.

23               THE COURT:       Well, sir, I won't know that until I

24   see all of the paperwork that's supposed to come in for the

25   pretrial conference.

                    Lisa   M.   Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 13 of 29 Page ID
                                 #:8475
                                                                         13

 1              MR. ADLI:       Would Your Honor like an update maybe

 2   in a week, a few days, just --

 3              THE COURT:       Sir, it's up to you to get it done.

 4              MR. ADLI:       We've been trying, we're going to

 5   continue to try beginning when I leave here, but if the

 6   other side is not cooperating, what can we do?               That's what

 7   I'm asking.

 8              THE COURT:       Well, I'm going to order you gentlemen

 9   when we conclude here to go into the conference room and to

10   accomplish as much as you can.

11              MR. SPELLERBERG:         Fine by me, Your Honor.

12              MR. ADLI:       Your Honor indicated that if we were

13   having issues, we could contact the Court and ask for a

14   conference.

15              THE COURT:       Right.

16              MR. ADLI:       Thank you, Your Honor.

17              THE COURT:       Well, let's take up the motions in

18   limine.

19              Have you reviewed the tentative for the motions

20   in limine?

21              MR. SPELLERBERG:         Yes, sir.

22              MR. ADLI:       Yes, Your Honor.

23              THE COURT:       Okay.    Let's get that out.      Okay.

24   Let's take Motion in Limine Number 1 with regard to

25   partnership agreement documents.          Do you want to be heard on

                    Lisa   M.   Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 14 of 29 Page ID
                                 #:8476
                                                                         14

 1   that?

 2              MR. ADLI:       Would counsel like to go first?

 3              THE COURT:       It's your motion, do you want to be

 4   heard?

 5              MR. ADLI:       I'm going to pull up my --

 6              Yes, Your Honor.       On this motion, as we have

 7   argued, there is no evidence of partnership, there hasn't

 8   been any evidence of partnership produced.            There has not

 9   been any discovery taken to that effect.            So it can't be

10   that we go to trial there's a surprise witness or surprise

11   document produced as evidence of partnership.

12              THE COURT:       I rule on the documents.         The

13   documents have not been produced.          Given the spoliation

14   claims, I can't tell, as I say in the tentative, whether

15   that set of circumstances would allow some oral testimony as

16   to the existence of documents.          I can't tell at present.

17              MR. ADLI:       Well, I mean, if there's some unusual

18   development that would warrant such a testimony or

19   presentation at trial that would be -- then we could take

20   that with the Court in camera perhaps, but our position is

21   that because we can't be ambushed at trial with evidence

22   that simply has not been presented or produced.

23              THE COURT:       Well, if defense wants to get in any

24   testimony about partnership documents, I'm going to require

25   that an offer of proof be made before we get into that.

                    Lisa   M.   Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 15 of 29 Page ID
                                 #:8477
                                                                         15

 1               MR. ADLI:       Yes, Your Honor.

 2               THE COURT:       Do you want to be heard on this

 3   motion?

 4               MR. SPELLERBERG:       Yes, Your Honor.

 5               This case deals with small -- actually a pair of

 6   partners who had a business together, and they've had a

 7   fight.    And there actually was a partnership agreement in

 8   this one.    I did the deposition -- I got to one -- he said I

 9   only did one deposition.         They blocked me from doing -- they

10   actually didn't show up to two of my depositions when I was

11   trying to do them.         But my point is when he did show up at

12   the deposition, he admitted he bought fabric with the other

13   -- with my client --

14               THE COURT:       Sir, why don't you address the motion,

15   please.

16               MR. SPELLERBERG:       Okay.   I believe that we should

17   consider that a partnership may be formed on an oral

18   agreement as well as on a written agreement.             If parties --

19   I think in our case --

20               THE COURT:       But this ruling does not restrict you

21   from offering evidence of an oral partnership.

22               MR. SPELLERBERG:       I understand that.         I mean,

23   right now you're not excluding damages on the partnership,

24   and I'm fine with that -- or evidence on the partnership.

25   I'm sorry.    Did I say "damages?"         Yeah.

                    Lisa   M.   Gonzalez,   Official    Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 16 of 29 Page ID
                                 #:8478
                                                                         16

 1               THE COURT:      Okay.   With the additional requirement

 2   for an offer of proof, the tentative will be the order of

 3   the Court for Motion in Limine Number 2.

 4               You want to address Number 2?          Testimony of the

 5   30(b)(6) declarants, deponents.

 6               MR. ADLI:      Yes, Your Honor.       As we have argued,

 7   again, if there's any evidence or anything that's contrary

 8   to what the corporate witness represented of the entity

 9   testified, that should not be admissible because that could

10   open the door.    We're preparing for trial.          We have to know

11   what the evidence -- what the cards are.

12               So that's the only concern that we have.          That the

13   corporate witness either did not know or did not -- or

14   affirmatively indicated there was no such evidence, and then

15   there will be contrary evidence produced at trial.

16               THE COURT:      Well, sir, I don't think the case law

17   supports you.    You're treating the testimony of the

18   corporate witness as if it were a judicial admission, and

19   it's not.    The case law recognizes that that can be

20   contradicted.

21               Now, there may be other bases to exclude testimony

22   that contradicts the corporate deponent's testimony, but the

23   fact of contradiction itself is not sufficient.

24               MR. ADLI:      Again, just like the previous motion,

25   Your Honor, if there is some reasonable basis, legal basis

                    Lisa   M.   Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 17 of 29 Page ID
                                 #:8479
                                                                         17

 1   for them to offer such evidence, that would be fine.              But

 2   otherwise if a corporate witness is unprepared or otherwise

 3   is deliberately withholding information at their testimony

 4   as a witness -- the most knowledgeable witness on that topic

 5   for the corporation, and then they show up with something

 6   different, that would be contradictory to the purpose of a

 7   corporate witness, a 30(b)(6).          That's my point.

 8              THE COURT:       Thank you.

 9              MR. SPELLERBERG:       I think point in cases like this

10   is when you do a 30(b)(6) witness and you walk away from the

11   topic of the 30(b)(6) motion, he turns into a regular

12   witness, and he can answer how he wants to do.               It's not

13   going to bind the corporation or anything.

14              And in this case, sitting through that deposition

15   was like watching a comedy in the sense because it was a

16   persnickety -- continued questions that were completely

17   irrelevant to the actual 30(b)(6) motion.

18              And so I think I agree with what the -- you said

19   in the motion, and I'll stand on it.

20              MR. ADLI:       Well, Your Honor, all I'm saying is if

21   there is some reasonable basis, that would be fine.              If they

22   can justify it, then Your Honor will accept it.              But it has

23   to go through the filtering process, that's what I was

24   saying.

25              THE COURT:       Well, sir, there are two issues:        One,

                    Lisa   M.   Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 18 of 29 Page ID
                                 #:8480
                                                                         18

 1   contradicting the 30(b)(6) deponent; and two, whether the

 2   questions are outside the scope of the 30(b)(6) notice.

 3              MR. ADLI:       Yes, Your Honor.

 4              THE COURT:       And if questions aren't within the

 5   scope of the notice, they have no binding force on anybody.

 6              MR. ADLI:       That is correct, Your Honor.      We agree

 7   with that.   We're not talking about those.

 8              THE COURT:       Okay.    Well, I'm going to impose the

 9   meet and confer requirement with regard to what questions

10   are within and without the scope of the notice.

11              MR. ADLI:       Yes, Your Honor.

12              THE COURT:       Okay, on the third motion, as I say, I

13   don't have a present sufficient record to rule, which takes

14   us to the last motion for damages.

15              Mr. Spellerberg, do you want to be heard on that?

16              MR. SPELLERBERG:         Yeah.

17              THE COURT:       Well, before I forget it, we didn't

18   receive the chamber's copies of your oppositions.

19              MR. SPELLERBERG:         I brought them with me today.

20   They're here.    I'm very sorry.

21              THE COURT:       Sir, they were due three weeks ago.

22              MR. ADLI:       Exactly.

23              THE COURT:       They were put in the box either first

24   thing this morning or Friday, but they certainly didn't

25   assist me in working up these motions.

                    Lisa   M.   Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 19 of 29 Page ID
                                 #:8481
                                                                         19

 1              Do you have an explanation?

 2              MR. SPELLERBERG:         No, I don't have an explanation,

 3   in particular, Your Honor, but I certainly will make every

 4   effort to get them to you immediately and on time from this

 5   point forward.

 6              THE COURT:       No, sir.    You won't make an effort,

 7   you will get them here on time.

 8              MR. SPELLERBERG:         Yes, sir.     I apologize.

 9              THE COURT:       Okay.    Do you want to address the

10   final motion?

11              MR. SPELLERBERG:         Yes, sir.

12              THE COURT:       Had you not seen the tentative prior

13   to this morning?

14              MR. SPELLERBERG:         No, I'm just looking at it

15   really quickly here, and I think I'm going to pass on

16   comment.

17              THE COURT:       Okay.

18              MR. SPELLERBERG:         I've actually just drafted a

19   motion that's going to deal with this exact same issue with

20   the plaintiffs' case --

21              THE COURT:       Sir, we're not going to take any new

22   motions.   You basically made that motion previously.

23              MR. SPELLERBERG:         The only argument that I would

24   have made is that -- is that by responding to discovery,

25   we -- we gave them information that fulfilled some of the

                    Lisa   M.   Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 20 of 29 Page ID
                                 #:8482
                                                                         20

 1   requests for the actual computations that were missing

 2   earlier and attempted in that sense while we were in

 3   discovery to respond in that manner.

 4              THE COURT:       But, sir, bottom line, there's no

 5   computation.    There are bits and pieces.          There are

 6   categories of damages, but the rule requires a computation.

 7   And I agree that could have been provided through an

 8   interrogatory response, it could have been provided by a

 9   declarant on behalf of the corporation, but no compilation.

10   What's the number, and how do you get there?            And you can't

11   put that -- piece that together from what's in the discovery

12   or in the record.

13              Can you tell me today an exact bottom line number

14   even?

15              MR. SPELLERBERG:         No, Your Honor, I can't.

16              THE COURT:       Well, how is the plaintiff or the

17   counter-defendant supposed to defend against that when here

18   we are nominally three weeks before trial, and you don't

19   even know what the number is?          How is it fair to them to

20   defend?

21              MR. SPELLERBERG:         I absolutely see your point.

22              May I address one question?

23              THE COURT:       Sure.

24              MR. SPELLERBERG:         At the meet and confer, the

25   order was that we were to -- the plaintiffs were to provide

                    Lisa   M.   Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 21 of 29 Page ID
                                 #:8483
                                                                         21

 1   exhibits per the rule.        And at the meet and confer, they --

 2   I don't have any exhibits at this point in time because I

 3   didn't do discovery --

 4              MR. ADLI:       This is unrelated.      This is unrelated.

 5              MR. SPELLERBERG:       I thought I said I was asking

 6   you something unrelated.

 7              THE COURT:       We've concluded on this.

 8              MR. SPELLERBERG:       Yeah, I'm sorry.

 9              So I was wondering if the Court -- if that meant

10   that they were to provide me with actual copies of the

11   exhibits that they we're going to use at trial, or if that

12   just meant that they were going to provide a list.

13              THE COURT:       I think he's supposed to provide the

14   documents.

15              MR. SPELLERBERG:       That's what I thought too,

16   Your Honor.    Thank you.      They weren't provided.

17              MR. ADLI:       Your Honor, Rule 16-2.3 only requires

18   identification of documents, and we have done that

19   completely and very clearly.           They have not propounded any

20   discovery, and as a substitute, they want to get documents

21   which they did not ask for, they're not entitled to.           We

22   have fully complied as Your Honor directed us with Rule 16

23   -- Local Rule 16-2.3 and identified all the exhibits that

24   we're going to use.        There is no production requirement in

25   Rule 16-2.3.

                    Lisa   M.   Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 22 of 29 Page ID
                                 #:8484
                                                                         22

 1               THE COURT:       Well, sir, I'm going to order you, as

 2   part of the pretrial conference process, to produce the

 3   documents you're going to use so that we don't have any

 4   doubt about it, both sides.         If you fail to produce them,

 5   well, you're likely not going to be able to use the

 6   documents.

 7               MR. ADLI:       We'll fully comply with Your Honor, but

 8   since Rule 16-2.3 to which Your Honor directed us has only

 9   the identification requirements, we're very clear on that.

10   But whatever Your Honor wants, we'll do that.

11               THE COURT:       Why don't we set up a telephonic

12   status conference.         I expect you gentlemen to meet and

13   confer as we conclude and to get some -- get down to

14   business this week and accomplish what you need to.

15               So we'll hold a telephonic status conference,

16   11:00 a.m., December 19th.

17               MR. ADLI:       Thank you very much, Your Honor.

18               THE COURT:       Contact Ms. Tunis in advance for the

19   particulars of calling in.         Okay?

20               MR. SPELLERBERG:       I think I can -- I think I'm

21   flying back East on the 22nd.           Can I get back to you and let

22   you know?    I'm not --

23               MR. ADLI:       The 19th?

24               MR. SPELLERBERG:       I think I can do it.

25               THE COURT:       A week from today.      Okay, thank you.

                    Lisa   M.    Gonzalez,   Official   Reporter
Case 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 23 of 29 Page ID
                                 #:8485
                                                                         23

 1              MR. SPELLERBERG:       Thank you, Your Honor.

 2        (Thereupon, at 11:31 a.m., proceedings adjourned.)

 3

 4                                    -oOo-

 5

 6                                 CERTIFICATE

 7

 8              I hereby certify that pursuant to Section 753,

 9   Title 28, United States Code, the foregoing is a true and

10   correct transcript of the stenographically reported

11   proceedings held in the above-entitled matter and that the

12   transcript format is in conformance with the regulations of

13   the Judicial Conference of the United States.

14

15   Date:   October 18, 2017

16

17                                            Lisa M. Gonzalez
                                 /s/__________________________________
18                               Lisa M. Gonzalez, U.S. Court Reporter
                                 CSR No. 5920
19

20

21

22

23

24

25

                    Lisa   M.   Gonzalez,   Official   Reporter
                           8                               appropriate [1] 5/6
Case 2:15-cv-05633-JVS-PLA Document     212 Filed 10/23/17 are
                                                            Page    24 of 29 Page ID
                                                               [19] 3/22 4/18 5/17 7/17 8/18 9/11
 MR. ADLI: [37]            8200 [1] 2/8
                                     #:8486                 9/11 10/19 10/20 10/25 11/2 11/21
 MR. SPELLERBERG: [34]                  8990 [1] 2/10
                                                                                  16/11 17/25 18/2 18/10 20/5 20/5
 THE CLERK: [1] 3/3
 THE COURT: [58]                        9                                         20/18
                                        90012 [1] 1/23                           aren't  [2] 9/9 18/4
-                                       90071 [1] 2/5                            argued    [2] 14/7 16/6
-o0o [1] 3/3                            90211 [1] 2/9                            argument     [1] 19/23
-oOo [1] 23/4                           943-8990 [1] 2/10                        around [1] 5/11
                                                                                 as [20] 6/6 6/19 7/21 12/21 13/10
/                                       A                                         13/10 14/6 14/11 14/14 14/15 15/18
/s [1] 23/17                            a.m [3] 3/2 22/16 23/2                    15/18 16/6 16/18 17/4 18/12 21/20
                                        able [1] 22/5                             21/22 22/1 22/13
1                                       about [6] 3/17 3/25 10/8 14/24 18/7      ask  [4] 12/11 12/13 13/13 21/21
100 [1] 9/25                             22/4                                    asked   [2] 11/9 11/20
11:00 a.m [1] 22/16                     above [2] 6/13 23/11                     asking [2] 13/7 21/5
11:03 [1] 3/2                           above-entitled [1] 23/11                 asks [1] 11/7
11:31 [1] 23/2                          absolutely [2] 4/18 20/21                assist [1] 18/25
11:54 [1] 3/21                          abstract [1]  11/15                      attach [1] 3/24
12 [3] 1/16 3/1 8/10                    accept [1] 17/22                         attempted [2] 4/14 20/2
12:14 [1] 3/22                          accomplish [3] 6/4 13/10 22/14           attention [2] 4/8 4/10
12:18 [1] 3/22                          accurate [1] 4/25                        attorney [1] 5/12
15-5633-JVS [1] 3/4                     accused [1] 8/19                         attorney's [1] 10/23
15-CV-05633-JVS [1] 1/8                 actual [4] 9/20 17/17 20/1 21/10         attorneys [1] 8/15
16 [3] 10/15 12/1 21/22                 actually [5] 5/1 15/5 15/7 15/10 19/18 August [1] 5/10
16-2.3 [4] 21/17 21/23 21/25 22/8       add [1] 4/14                             available [1] 12/15
16.2-3 [1] 7/5                          additional [1] 16/1                      away [2] 9/9 17/10
18 [1] 23/15                            address [4] 15/14 16/4 19/9 20/22        B
18th [1] 8/7                            adjourned [1] 23/2
19th [2] 22/16 22/23                    ADLI [6] 2/3 2/3 3/8 3/9 7/4 11/19       back [4] 5/10 6/11 22/21 22/21
1st [1] 1/23                            admissible [1] 16/9                      bases [1] 16/21
                                        admission [1] 16/18                      basically [1] 19/22
2                                       admitted [1] 15/12                       basis [3] 16/25 16/25 17/21
2.3 [4] 21/17 21/23 21/25 22/8          advance [3] 9/12 9/16 22/18              be [38]
20 [1] 8/21                             affirmative [2] 10/20 11/1               because [9] 4/16 4/17 5/3 11/19 12/20
2016 [2] 1/16 3/1                       affirmatively [1] 16/14                   14/21 16/9 17/15 21/2
2017 [1] 23/15                          again [9] 5/8 5/10 6/13 6/21 9/7 10/10   been   [14] 5/18 6/23 10/9 10/17 11/9
21 [2] 9/12 9/15                         12/9 16/7 16/24                          11/13 12/20 13/4 14/8 14/9 14/13
213 [1] 2/5                             against [1] 20/17                         14/22 20/7 20/8
213.894.2979 [1] 1/24                   ago [3] 9/3 9/5 18/21                    before   [4] 5/13 14/25 18/17 20/18
22nd [1] 22/21                          agree [3]  17/18  18/6 20/7              beginning     [1] 13/5
28 [1] 23/9                             agreement [4] 13/25 15/7 15/18 15/18     behalf   [1]  20/9
                                        al [4] 1/6 1/9 3/5 3/5                   being [2] 8/18 8/19
3                                       all [15] 7/1 7/6 8/19 9/7 9/13 9/22 9/24 belief [1] 6/22
30 [7] 16/5 17/7 17/10 17/11 17/17       10/13 10/18 10/19 11/7 12/2 12/24       believe [3] 7/12 10/18 15/16
 18/1 18/2                               17/20 21/23                             bench [1] 4/21
310 [1] 2/10                            allow [1] 14/15                          between [1] 8/15
3100 [1] 2/4                            already [1] 6/6                          Beverly [1] 2/9
350 [1] 1/23                            also [2] 3/18 11/6                       beyond [1] 7/14
3:45 [1] 8/10                           am [1] 8/23                              bind [1] 17/13
                                        ambushed [1] 14/21                       binding [1] 18/5
4                                                                                bits [1] 20/5
                                        amended [1] 7/12
40-day [6] 5/19 5/20 5/24 6/4 7/1 7/3   Angeles [4] 1/15 1/23 2/5 3/1            blocked [1] 15/9
415 [1] 2/9                             Anni [1] 11/11                           both [3] 7/7 11/1 22/4
444 [1] 2/4                             another [5] 5/13 5/14 10/11 11/16        bottom [2] 20/4 20/13
4455 [1] 1/23                            12/18                                   bought [1] 15/12
                                        answer [2] 5/23 17/12                    Boulevard [1] 2/8
5                                                                                box [1] 18/23
                                        any [15] 6/16 6/23 9/25 10/1 10/1
5920 [2] 1/22 23/18                      10/22 12/19 14/8 14/9 14/23 16/7        bring [2] 4/7 12/3
                                         19/21 21/2 21/19 22/3                   brought [2] 4/9 18/19
6                                                                                business [2] 15/6 22/14
                                        anybody [1] 18/5
623-6456 [1] 2/5
                                        anymore [2] 6/10 6/12                    C
6456 [1] 2/5
                                        anything [3] 10/2 16/7 17/13
                                                                                 calendar [2] 5/4 5/8
7                                       apologize [2] 4/24 19/8
                                                                                 CALIFORNIA [6] 1/2 1/15 1/23 2/5 2/9
                                        appearances [2] 2/1 3/6
753 [1] 23/8                                                                      3/1
                                        appearing [1] 3/12
                                                                                 calling   [1] 22/19
                                        application [2] 10/13 12/3
 C                          cooperating [1] 13/6              15/10 18/17 18/24 21/3
Case  2:15-cv-05633-JVS-PLA Document
                            cooperation
                                        212
                                        [1]
                                               Filed 10/23/17 different
                                            12/11              Page 25     of 29 Page ID
                                                                        [2] 8/18 17/6
 came [1] 8/5                         #:8487
                            copies [2] 18/18 21/10            directed [3] 7/5 21/22 22/8
camera [1] 14/20
                                          corporate [6] 16/8 16/13 16/18 16/22      disclosures [1] 4/18
can [13] 7/13 10/13 12/3 12/18 13/6
                                           17/2 17/7                                discovery [9] 6/16 6/23 11/12 14/9
 13/10 16/19 17/12 17/22 20/13 22/20
                                          corporation [3] 17/5 17/13 20/9           19/24 20/3 20/11 21/3 21/20
 22/21 22/24
                                          correct [3] 5/25 18/6 23/10               disputes [1] 8/3
can't [12] 6/25 7/2 7/9 7/9 9/9 10/18
                                          correspondence [1] 12/17                  DISTRICT [3] 1/1 1/2 1/22
 14/9 14/14 14/16 14/21 20/10 20/15
                                          could [5] 13/13 14/19 16/9 20/7 20/8      DIVISION [1] 1/3
Canadian [1] 11/11
                                          counsel [4] 3/6 5/21 6/7 14/2             do [28]
cards [1] 16/11
                                          counter [1] 20/17                         document [1] 14/11
case [15] 4/19 4/25 6/6 6/12 6/22 7/19
 8/15 11/3 11/24 15/5 15/19 16/16         counter-defendant [1] 20/17               documents [17] 7/2 7/4 7/6 9/20 9/22
 16/19 17/14 19/20                        couple [1] 9/3                            11/7 11/10 13/25 14/12 14/13 14/16
                                          court [15] 1/1 3/25 4/7 4/9 8/3 9/15      14/24 21/14 21/18 21/20 22/3 22/6
cases [1] 17/9
                                           11/18 12/12 13/13 13/15 14/3 14/20       does [1] 15/20
categories [1] 20/6
                                           16/3 21/9 23/18                          doesn't [1] 12/6
CCRR [1] 1/22
                                          Court's [1] 11/22                         doing [1] 15/9
CENTRAL [1] 1/2
                                          Courthouse [1] 1/22                       don't [15] 6/17 7/10 7/13 7/24 8/2 8/15
certain [1] 4/18
                                          cows [1] 10/21                            9/17 15/14 16/16 18/13 19/2 20/18
certainly [3] 4/18 18/24 19/3
                                          CSR [2] 1/22 23/18                        21/2 22/3 22/11
CERTIFICATE [1] 23/6
                                          CV [1] 1/8                                done [12] 7/1 7/7 7/10 8/9 8/18 8/24
certify [1] 23/8
                                                                                    8/24 9/10 12/2 12/13 13/3 21/18
chamber's [1] 18/18                       D                                         door [1] 16/10
change [1] 10/4
                                          damage [1] 11/1                           doubt [1] 22/4
check [1] 12/17
                                          damages [4] 15/23 15/25 18/14 20/6        down [3] 8/5 11/25 22/13
circumstances [1] 14/15
                                          damages' [3] 3/20 4/15 4/20               drafted [2] 7/24 19/18
Civil [1] 3/4
                                          Dariush [1] 3/8                           due [2] 8/11 18/21
claims [6] 8/25 9/1 10/19 11/1 11/2
                                          DARIUSHI [1] 2/3
 14/14                                                                              E
                                          date [6] 5/6 10/12 10/14 12/3 12/20
clear [1] 22/9                            23/15                                     e-mails [1] 9/1
clearly [1] 21/19
                                          dates [4] 5/5 10/1 10/5 10/13             each [3] 9/15 10/15 11/1
client [2] 6/9 15/13
                                          DAVID [2] 1/6 3/4                         earlier [1] 20/2
Code [1] 23/9
                                          day [9] 5/19 5/20 5/24 6/4 7/1 7/3 8/10   East [1] 22/21
come [2] 10/21 12/24                      8/11 8/12                                 effect [2] 7/9 14/9
comedy [1] 17/15
                                          days [8] 5/13 5/15 8/10 8/21 9/3 9/12     effort [2] 19/4 19/6
comment [1] 19/16                         9/15 13/2                                 either [4] 9/17 10/7 16/13 18/23
communication [2] 8/6 8/14
                                          deadline [1] 12/6                         email [1] 8/21
communications [1] 9/8
                                          deal [2] 3/19 19/19                       emails [3] 8/20 8/25 12/17
company [1] 11/11
                                          deals [1] 15/5                            emergency [1] 5/3
compilation [1] 20/9
                                          December [3] 1/16 3/1 22/16               entitled [2] 21/21 23/11
completely [4] 6/8 6/8 17/16 21/19
                                          December 19th [1] 22/16                   entity [1] 16/8
compliance [1] 10/15
                                          declarant [1] 20/9                        equity [1] 4/21
complied [1] 21/22
                                          declarants [1] 16/5                       ESQ [2] 2/3 2/8
comply [1] 22/7
                                          declaration [5] 4/5 4/11 8/22 10/14       et [4] 1/6 1/9 3/5 3/5
computation [2] 20/5 20/6                 12/2                                      even [2] 20/14 20/19
computations [1] 20/1
                                          defaulted [2] 7/8 9/10                    every [1] 19/3
concern [1] 16/12
                                          defend [2] 20/17 20/20                    everything [1] 11/25
conclude [2] 13/9 22/13
                                          defendant [1] 20/17                       evidence [11] 14/7 14/8 14/11 14/21
concluded [1] 21/7
                                          defendants [3] 1/10 2/7 3/12               15/21 15/24 16/7 16/11 16/14 16/15
conduct [2] 7/13 10/23
                                          defendants' [1] 10/23                      17/1
confer [7] 4/5 5/7 5/22 18/9 20/24 21/1
                                          defense [1] 14/23                         exact [2] 19/19 20/13
 22/13
                                          defenses [1] 10/20                        Exactly [1] 18/22
conference [27]
                                          delay [1] 6/19                            exclude [1] 16/21
conferred [5] 4/1 4/3 5/10 5/11 9/19
                                          deliberately [1] 17/3                     excluded [1] 11/11
conformance [1] 23/12
                                          denied [2] 11/8 11/19                     excluding [1] 15/23
consequences [3] 7/9 10/23 10/25
                                          deponent [1] 18/1                         exclusion [1] 11/7
consider [1] 15/17
                                          deponent's [1] 16/22                      excuse [2] 4/2 6/17
contact [3] 8/23 13/13 22/18
                                          deponents [1] 16/5                        exhibit [1] 10/4
contacted [1] 8/7
                                          deposition [6] 6/16 10/7 15/8 15/9        exhibits [5] 7/3 21/1 21/2 21/11 21/23
continue [1] 13/5                         15/12 17/14                               existence [1] 14/16
continued [2] 5/2 17/16
                                          depositions [2] 10/7 15/10                expect [4] 12/12 12/14 12/16 22/12
contradicted [1] 16/20
                                          development [1] 14/18                     explanation [2] 19/1 19/2
contradicting [1] 18/1
                                          did [13] 4/4 4/12 4/24 5/19 5/20 7/20     extending [1] 12/21
contradiction [1] 16/23                   15/8 15/9 15/11 15/25 16/13 16/13         extension [3] 12/19 12/21 12/22
contradictory [1] 17/6                    21/21
contradicts [1] 16/22
                                          didn't [17] 3/24 4/7 5/14 5/23 6/16       F
contrary [2] 16/7 16/15                   7/15 8/9 9/2 9/4 9/25 10/1 10/1 10/2      fabric [1] 15/12
cooperate [2] 12/12 12/14
 F                            having [4] 4/20 12/11 12/13 13/13
Case    2:15-cv-05633-JVS-PLA Document     212 Filed 10/23/17 KPage 26 of 29 Page ID
                              he [11] 8/23 8/25 8/25 9/1 15/8 15/11
 fact [1] 16/23                          #:8488                     kind [1] 12/19
                               15/12 15/12 17/11 17/12 17/12
facts [1] 7/11                                                                  know [7] 5/14 7/13 12/23 16/10 16/13
                                        he's [3] 8/24 8/24 21/13
fail [1] 22/4                                                                    20/19 22/22
                                        head [1] 6/13
fair [2] 8/19 20/19                                                             knowledgeable [1] 17/4
                                        hear [3] 8/9 11/3 11/4
false [1] 8/23                                                                  knows [1] 12/21
                                        heard [7] 4/17 8/10 10/8 13/25 14/4
family [2] 5/3 6/18
fashion [1] 4/12
                                        15/2 18/15                              L
                                        held [1] 23/11                          last [7] 3/21 6/9 6/12 7/21 8/6 8/21
fence [1] 7/25
                                        here [10] 4/3 6/14 6/21 10/20 13/5       18/14
few [1] 13/2
                                        13/9 18/20 19/7 19/15 20/17             law [6] 2/3 2/7 3/9 7/11 16/16 16/19
fight [1] 15/7
                                        here's [2] 6/5 8/8                      least [1] 10/4
file [4] 3/25 4/10 9/14 10/13
                                        hereby [1] 23/8                         leave [1] 13/5
filed [11] 3/18 3/21 4/4 5/2 5/7 5/13
 8/12 9/3 9/4 11/16 11/17               Hills [1] 2/9                           legal [1] 16/25
                                        him [3] 5/10 5/11 9/19                  let [3] 4/2 5/15 22/21
filed at [1] 3/21
                                        his [1] 8/22                            let's [3] 13/17 13/23 13/24
filtering [1] 17/23
                                        hold [1] 22/15                          like [10] 10/5 11/24 12/5 12/6 12/6
final [1] 19/10
                                        home [1] 10/21                           13/1 14/2 16/24 17/9 17/15
fine [7] 6/17 12/4 12/21 13/11 15/24
 17/1 17/21                             HON [1] 1/4                             likely [1] 22/5
                                        Honor [50]                              limine [8] 5/2 5/5 11/4 11/7 13/18
first [4] 6/7 11/3 14/2 18/23
                                        how [4] 17/12 20/10 20/16 20/19          13/20 13/24 16/3
flag [1] 8/4
Flower [1] 2/4                          I                                       line [2] 20/4 20/13
flying [1] 22/21                                                                LISA [3] 1/22 23/17 23/18
                                      I'd [2] 10/3 10/4
following [1] 11/21                                                             list [6] 8/8 9/15 9/19 9/25 10/3 21/12
                                      I'll [1] 17/19
force [1] 18/5                                                                  lists [1] 9/11
                                      I'm [24]
foregoing [1] 23/9                                                              literally [1] 6/12
                                      I've [2] 10/9 19/18
forever [1] 10/18                                                               Local [1] 21/23
                                      identification [2] 21/18 22/9
forget [1] 18/17                                                                long [2] 12/20 12/22
                                      identified [5] 7/2 7/4 7/6 9/13 21/23
format [1] 23/12                                                                looking [1] 19/14
                                      identified all [1] 9/13
formed [1] 15/17                                                                Los [4] 1/15 1/23 2/5 3/1
                                      immediately [1] 19/4
forward [1] 19/5                                                                lot [2] 6/3 8/17
                                      important [1] 4/16
free [1] 4/10                                                                   love [1] 8/25
                                      impose [1] 18/8
Friday [1] 18/24
fulfilled [1] 19/25
                                      in limine [1] 13/20                       M
                                      inadequate [1] 4/19                       made [4] 6/17 14/25 19/22 19/24
fully [2] 21/22 22/7
                                      INC [1] 1/9                               mails [1] 9/1
G                                     Incorporated [1] 3/5                      make [4] 4/24 12/15 19/3 19/6
          19/25                       indicated [2] 13/12 16/14                 making [1] 9/9
gave [1]
                                      information [2] 17/3 19/25                manner [3] 8/18 12/18 20/3
gentlemen [3] 11/24 13/8 22/12
                                      interested [1] 6/10                       matter [5] 3/14 4/17 6/2 10/11 23/11
get [13] 9/9 12/13 13/3 13/23 14/23
14/25 19/4 19/7 20/10 21/20 22/13     interrogatory [1] 20/8                    matters [1] 4/2
22/13 22/21                           irrelevant [1] 17/17                      may [4] 4/22 15/17 16/21 20/22
                                      is [44]                                   maybe [6] 6/9 6/10 6/11 9/25 12/6 13/1
give [1] 9/20
                                      isn't [1] 6/10                            me [15] 4/2 4/2 7/17 7/21 8/23 8/25 9/1
given [5] 3/23 3/24 10/3 10/4 14/13
                                      issue [5] 3/20 4/15 4/16 4/20 19/19       9/1 9/22 13/11 15/9 18/19 18/25 20/13
go [11] 4/2 10/3 10/8 10/10 11/2 11/3
11/25 13/9 14/2 14/10 17/23           issues [3] 4/21 13/13 17/25               21/10
                                      it [32]                                   mean [4] 7/13 8/19 14/17 15/22
goes [3] 6/7 8/3 10/18
                                      it's [6] 4/16 8/1 13/3 14/3 16/19 17/12   meant [2] 21/9 21/12
going [30]
                                      Item [1] 3/4                              meet [7] 4/5 5/6 5/21 18/9 20/24 21/1
GONZALEZ [3] 1/22 23/17 23/18
                                      items [1] 9/25                            22/12
good [6] 3/8 3/10 3/11 3/13 3/17 4/24
                                      itself [1] 16/23                          memorandum [1] 7/11
got [7] 5/15 8/3 9/24 10/9 11/1 12/10
15/8                                  J                                         met [5] 4/1 4/3 5/10 5/11 9/19
gotten [1] 8/20                                                                 mine [2] 10/9 10/9
                                      JAMES [1] 1/4
GROUP [2] 2/3 3/9                                                               missing [1] 20/1
                                      Jeff [1] 3/11
guys [1] 7/20                                                                   misunderstanding [1] 9/21
                                      JEFFERY [2] 2/7 2/8
                                                                                Monday [2] 1/16 3/1
H                                     joint [7] 7/22 8/3 8/6 8/11 10/13 10/15
                                                                                more [6] 4/14 5/15 11/9 11/9 11/13
                                       12/1
had [12] 4/1 4/1 4/3 5/3 5/6 5/9 5/10                                           11/20
                                      judge [3] 1/4 1/4 3/25
8/6 9/19 15/6 15/6 19/12                                                        morning [8] 3/8 3/10 3/11 3/13 3/22
                                      judicial [2] 16/18 23/13
HAKIM [2] 1/6 3/5                                                               11/17 18/24 19/13
                                      just [12] 3/18 4/20 7/13 9/3 9/9 10/18
happened [3] 4/1 4/4 6/11                                                       most [1] 17/4
                                       11/5 13/2 16/24 19/14 19/18 21/12
happy [2] 9/7 9/8                                                               mother [1] 6/18
                                      justification  [1] 6/20
has [10] 3/19 4/15 6/6 7/5 7/8 8/23                                             motion [21] 3/18 4/15 4/15 4/25 11/6
                                      justify  [1] 17/22
14/8 14/22 17/22 22/8                                                           11/14 13/24 14/3 14/6 15/3 15/14 16/3
                                      JVS [2] 1/8 3/4
hasn't [2] 6/23 14/7                                                            16/24 17/11 17/17 17/19 18/12 18/14
have [46]                                                                       19/10 19/19 19/22
haven't [5] 7/1 7/2 10/6 10/6 10/8                                              motions [11] 4/4 5/2 5/4 5/5 5/7 5/15
 M 2:15-cv-05633-JVS-PLA Document      otherwise [2] 17/2 17/2            21/13
Case                                   our [2] 14/20212
                                                     15/19 Filed 10/23/17 provided
                                                                           Page 27     of 29 Page ID
                                                                                    [4] 10/14 20/7 20/8 21/16
 motions... [5] 11/4 13/17 13/19 18/25            #:8489
 19/22                                 out [3] 6/6 12/3 13/23             pull [1] 14/5
                                           outside [1] 18/2                           purpose [1] 17/6
 MR [3] 7/4 11/19 22/24
                                           over [2] 4/2 10/4                          pursuant [1] 23/8
 Mr. [2] 8/22 18/15
                                           overwhelming [1] 3/14                      put [4] 4/5 12/1 18/23 20/11
 Mr. Sherman [1] 8/22
 Mr. Spellerberg [1] 18/15                 P                                          Q
 Ms [1] 22/18
                                           page [1] 10/1                              question [2] 12/5 20/22
 much [2] 13/10 22/17
                                           pair [1] 15/5                              questions [4] 17/16 18/2 18/4 18/9
 MURANO [2] 1/9 3/5
                                           pale [1] 7/14                              quickly [1] 19/15
 my [14] 4/4 4/9 6/1 6/2 7/25 8/14 10/4
                                           paperwork [2] 8/12 12/24
 10/11 12/5 14/5 15/10 15/11 15/13
                                           part [2] 10/15 22/2                        R
 17/7                                                                                 radio [3] 6/7 7/20 12/16
                                           participate [3] 7/10 7/15 7/20
 N                                         particular [1] 19/3                        re [3] 3/25 4/10 10/13
                                           particulars [1] 22/19                      re-file [2] 3/25 4/10
 necessary [1] 12/22
                                           parties [1] 15/18                          re-set [1] 10/13
 need [2] 8/8 22/14
                                           partners [1] 15/6                          ready [11] 3/15 5/17 5/18 6/3 6/22
 needed [1] 8/9                                                                        6/24 6/25 7/2 10/10 10/10 11/3
                                           partnership [10] 13/25 14/7 14/8
 needs [1] 4/17
                                           14/11 14/24 15/7 15/17 15/21 15/23         really [3] 4/14 4/17 19/15
 neglected [1] 4/5
                                           15/24                                      reason [1] 6/7
 Neither [1] 11/2
                                           pass [1] 19/15                             reasonable [2] 16/25 17/21
 never [2] 11/5 11/5
                                           paying [1] 6/10                            receive [1] 18/18
 new [2] 11/17 19/21
                                           people [1] 8/21                            recognizes [1] 16/19
 next [1] 8/12
                                           per [2] 7/4 21/1                           record [3] 3/7 18/13 20/12
 night [1] 3/22
                                           perhaps [1] 14/20                          refiled [1] 5/6
 no [23] 1/8 1/22 5/7 5/23 6/20 6/20 7/9
                                           Period [1] 11/5                            regard [2] 13/24 18/9
 7/24 9/14 9/14 9/14 12/16 14/7 16/14
                                           persnickety [1] 17/16                      regular [1] 17/11
 18/5 19/2 19/6 19/14 20/4 20/9 20/15
                                           phonetic [1] 11/11                         regulations [1] 23/12
 21/24 23/18
                                           piece [1] 20/11                            relating [1] 11/10
 nominally [1] 20/18
                                           pieces [1] 20/5                            reported [1] 23/10
 not [43]
                                           plaintiff [2] 5/12 20/16                   Reporter [1] 23/18
 nothing [1] 4/19
                                           plaintiffs [6] 1/7 2/3 3/9 4/3 5/6 20/25   REPORTER'S [1] 1/14
 notice [4] 3/24 18/2 18/5 18/10
                                           plaintiffs' [1] 19/20                      representation [1] 9/6
 November [1] 8/8
                                           please [2] 3/6 15/15                       represented [1] 16/8
 now [4] 6/21 11/21 15/23 16/21
                                           point [9] 6/1 6/2 6/5 15/11 17/7 17/9      requests [1] 20/1
 number [7] 11/7 13/24 16/3 16/4 20/10
                                           19/5 20/21 21/2                            require [1] 14/24
 20/13 20/19
                                           pointed [1] 6/6                            required [4] 8/1 8/2 9/12 12/1
 numbers [3] 9/25 10/2 10/4
                                           position [1] 14/20                         requirement [3] 16/1 18/9 21/24
 O                                         prefers [1] 6/24                           requirements [1] 22/9
                                           prejudice [2] 11/8 11/20                   requires [2] 20/6 21/17
 o0o [1] 3/3
                                           preparation [2] 7/16 9/16                  reset [2] 5/4 5/5
 October [1] 23/15
                                           prepared [1] 9/18                          respond [2] 12/18 20/3
 off [2] 5/4 5/8
                                           preparing [1] 16/10                        responding [1] 19/24
 offer [3] 14/25 16/2 17/1
                                           present [2] 14/16 18/13                    response [1] 20/8
 offering [2] 9/20 15/21
                                           presentation [1] 14/19                     responsible [1] 8/16
 OFFICES [1] 2/7
                                           presented [1] 14/22                        restrict [1] 15/20
 Ohio [1] 6/11
                                           PRESIDING [1] 1/4                          result [1] 6/19
 Okay [11] 8/5 13/23 13/23 15/16 16/1
 18/8 18/12 19/9 19/17 22/19 22/25         pretrial [12] 5/4 7/12 7/16 7/22 9/3       reviewed [1] 13/19
                                           9/12 9/16 9/24 10/15 10/17 12/25 22/2      right [2] 13/15 15/23
 once [1] 8/23
                                           previous [1] 16/24                         room [1] 13/9
 one [18] 3/18 6/19 7/11 7/21 7/25 8/3
 8/16 8/21 11/4 11/16 11/17 11/19          previously [1] 19/22                       rule [12] 10/15 11/14 12/1 14/12 18/13
                                           prior [2] 11/22 19/12                       20/6 21/1 21/17 21/22 21/23 21/25
 12/18 15/8 15/8 15/9 17/25 20/22
                                           probably [4] 3/24 4/14 4/20 10/10           22/8
 only [7] 8/10 8/16 15/9 16/12 19/23
 21/17 22/8                                problem [1] 8/15                           ruling [2] 3/19 15/20
 oOo [1] 23/4                              problems [1] 12/13
                                           procedure [1] 6/15
                                                                                      S
 open [1] 16/10
                                           proceedings [3] 1/14 23/2 23/11            said [9] 4/10 5/12 6/9 6/20 8/8 8/11
 opinion [1] 8/14                                                                      15/8 17/18 21/5
 oppositions [1] 18/18                     process [2] 17/23 22/2
                                           produce [4] 9/7 10/6 22/2 22/4             same [3] 9/22 12/8 19/19
 oral [3] 14/15 15/17 15/21
                                           produced [7] 11/8 11/12 14/8 14/11         say [7] 6/13 6/17 9/2 9/4 14/14 15/25
 order [12] 7/12 7/16 7/23 8/4 9/4 10/16                                               18/12
 10/17 11/22 13/8 16/2 20/25 22/1          14/13 14/22 16/15
                                           production [1] 21/24                       saying [3] 11/21 17/20 17/24
 ordered [2] 5/3 5/8
                                           proof [2] 14/25 16/2                       says [1] 8/22
 orders [1] 8/2
                                           proposed [1] 7/22                          scope [3] 18/2 18/5 18/10
 original [1] 5/4
                                           propounded [1] 21/19                       second [4] 6/9 6/12 8/24 10/24
 other [9] 5/12 6/16 7/8 8/7 10/13 11/19
                                           provide [5] 10/14 20/25 21/10 21/12        Section [1] 23/8
 13/6 15/12 16/21
 S                           supposed [5] 9/22 10/8 12/24 20/17 transcript [3] 1/14 23/10 23/12
Case   2:15-cv-05633-JVS-PLA Document
                              21/13       212 Filed 10/23/17 transcripts
                                                                 Page 28 [1] of 29
                                                                                10/7 Page ID
 see [3] 8/25 12/24 20/21              #:8490
                             Sure [1] 20/23                     treating [1] 16/17
seen [4] 8/20 10/6 10/6 19/12
                                          surprise [2] 14/10 14/10                 trial [23] 3/15 4/21 5/2 5/17 5/18 6/3
SELNA [1] 1/4
                                          sympathetic [1] 6/18                      6/19 6/22 8/6 9/21 10/12 10/14 11/2
sense [4] 3/14 3/17 17/15 20/2
                                                                                    11/3 12/3 12/20 14/10 14/19 14/21
sent [3] 8/25 9/1 9/1                     T                                         16/10 16/15 20/18 21/11
separate [1] 8/2
                                          take [4] 13/17 13/24 14/19 19/21         tried [4] 4/19 8/23 10/19 10/20
seriously [1] 6/15
                                          taken [2] 6/15 14/9                      true [3] 5/14 9/10 23/9
set [6] 5/2 10/13 12/3 12/6 14/15 22/11
                                          takes [1] 18/13                          try [3] 4/14 11/24 13/5
seven [3] 3/4 5/13 5/15
                                          talking [1] 18/7                         trying [3] 10/5 13/4 15/11
Sherman [1] 8/22
                                          telephonic [2] 22/11 22/15               Tunis [1] 22/18
Short [1] 12/21
                                          tell [3] 14/14 14/16 20/13               turns [1] 17/11
should [7] 4/20 6/15 7/11 11/13 12/20
                                          tentative [4] 13/19 14/14 16/2 19/12     two [6] 5/7 8/2 11/4 15/10 17/25 18/1
 15/16 16/9
                                          terms [1] 12/16
show [3] 15/10 15/11 17/5                                                          U
                                          testified [1] 16/9
showing [1] 10/14
                                          testimony [8] 14/15 14/18 14/24 16/4     U.S [2] 1/22 23/18
shows [1] 6/8                              16/17 16/21 16/22 17/3                  unavailable [2] 5/21 6/8
side [8] 6/23 7/8 7/25 8/7 9/15 9/17
                                          than [2] 6/16 8/18                       under [1] 9/21
 10/11 13/6
                                          thank [6] 13/16 17/8 21/16 22/17         understand [1] 15/22
sides [1] 22/4                             22/25 23/1                              UNITED [3] 1/1 23/9 23/13
silence [1] 12/16
                                          that [101]                               unprepared [1] 17/2
silent [2] 6/8 7/20
                                          that's [17] 3/16 7/11 8/1 8/16 10/10     unrelated [3] 21/4 21/4 21/6
similar [1] 3/18                           10/17 11/21 11/23 11/25 12/24 13/6      until [3] 10/21 11/2 12/23
simply [1] 14/22                           16/7 16/12 17/7 17/23 19/19 21/15       untimely [3] 3/22 4/23 9/3
since [1] 22/8
                                          their [7] 4/18 6/9 6/13 6/18 6/23 9/3    unusual [1] 14/17
single [2] 6/16 8/21                       17/3                                    up [10] 6/9 11/21 13/3 13/17 14/5
sir [24]
                                          them [18] 4/10 5/8 5/13 6/10 8/7 8/9     15/10 15/11 17/5 18/25 22/11
sit [1] 11/25                              8/10 9/20 9/24 10/3 15/11 17/1 18/19    update [1] 13/1
sitting [1] 17/14                          19/4 19/7 19/25 20/19 22/4              us [5] 7/5 11/20 18/14 21/22 22/8
situation [1] 6/18
                                          then [9] 5/15 6/8 6/12 8/11 12/2 14/19   use [6] 9/20 12/16 21/11 21/24 22/3
sliding [1] 8/17                           16/14 17/5 17/22                        22/5
slip [1] 5/16
                                          there [22] 6/20 6/22 7/9 7/9 8/8 8/14
slipping [1] 8/17                          10/22 10/25 14/7 14/7 14/8 15/7 16/14   V
small [1] 15/5                             16/15 16/21 16/25 17/21 17/25 20/5      vacate [1] 10/12
so [11] 4/13 4/23 5/23 8/5 12/17 14/9      20/5 20/10 21/24                        versus [1] 3/5
 16/12 17/18 21/9 22/3 22/15                                                       very [7] 4/3 4/16 12/20 18/20 21/19
                                          there's [8] 4/19 6/3 8/17 8/19 14/10
some [9] 4/14 5/16 6/7 14/15 14/17         14/17 16/7 20/4                          22/9 22/17
 16/25 17/21 19/25 22/13
                                          Thereupon [1] 23/2
someone [1] 3/25
                                          these [4] 4/2 7/20 8/21 18/25            W
something [2] 17/5 21/6                                                            wait [1] 5/13
                                          they [31]
sorry [4] 3/23 15/25 18/20 21/8                                                    waited [1] 5/14
                                          they're [8] 6/10 6/11 6/21 7/10 9/10
South [1] 2/4                              12/8 18/20 21/21                        walk [1] 17/10
speaking [1] 7/17                                                                  want [10] 4/24 6/17 11/10 13/25 14/3
                                          they've [1] 15/6
specific [4] 11/9 11/10 11/14 11/20                                                15/2 16/4 18/15 19/9 21/20
                                          thing [2] 12/9 18/24
Specifically [1] 11/10                                                             wanted [1] 6/19
                                          things [5] 7/1 8/9 8/18 10/5 12/2
SPELLERBERG [5] 2/7 2/8 3/12 18/15                                                 wants [3] 14/23 17/12 22/10
                                          think [19] 3/16 3/17 4/13 4/16 4/16
 22/24                                                                             warrant [1] 14/18
                                           8/14 8/16 8/17 8/18 8/19 15/19 16/16
spoliation [1] 14/13                       17/9 17/18 19/15 21/13 22/20 22/20      was [32]
stand [1] 17/19                            22/24                                   watching [1] 17/15
state [1] 3/6                                                                      water [1] 6/13
                                          think I [1] 22/20
statement [3] 4/6 5/7 5/7                                                          we [51]
                                          third [3] 5/1 11/4 18/12
statements [1] 9/9                                                                 We'd [1] 10/20
                                          this [39]
STATES [3] 1/1 23/9 23/13                                                          we'll [5] 9/7 12/4 22/7 22/10 22/15
                                          those [7] 5/3 7/6 10/19 10/19 11/11
status [3] 12/14 22/12 22/15               12/2 18/7                               we're [12] 6/13 6/17 6/24 10/7 11/23
stenographically [1] 23/10                                                         13/4 16/10 18/7 19/21 21/11 21/24
                                          thought [3] 9/4 21/5 21/15
stick [1] 6/13                                                                     22/9
                                          three [3] 9/5 18/21 20/18
Street [2] 1/23 2/4                                                                we've [4] 7/5 12/20 13/4 21/7
                                          through [6] 10/8 10/9 11/25 17/14
stuff [2] 6/3 8/20                         17/23 20/7                              week [3] 13/2 22/14 22/25
submit [2] 8/2 8/3                                                                 weeks [3] 9/5 18/21 20/18
                                          time [10] 5/11 5/16 6/7 8/24 9/23
submitted [4] 7/10 10/18 11/5 11/5         10/11 10/24 19/4 19/7 21/2              well [25]
substitute [1] 21/20                                                               went [2] 6/11 7/20
                                          timely [2] 4/12 12/18
such [3] 14/18 16/14 17/1                                                          were [14] 9/22 10/3 11/11 13/12 16/18
                                          Title [1] 23/9
sufficient [2] 16/23 18/13                                                         17/16 18/21 18/23 20/1 20/2 20/25
                                          today [4] 3/19 18/19 20/13 22/25
Suite [3] 1/23 2/4 2/9                                                             20/25 21/10 21/12
                                          together [3] 12/11 15/6 20/11
supply [1] 9/22                                                                    weren't [1] 21/16
                                          too [1] 21/15
supports [1] 16/17                                                                 West [1] 1/23
                                          topic [2] 17/4 17/11
suppose [1] 9/14
 W 2:15-cv-05633-JVS-PLA Document 212 Filed 10/23/17 Page 29 of 29 Page ID
Case
 WESTERN [1] 1/3               #:8491
what [19] 3/21 4/1 4/4 4/13 7/13 8/8
11/21 11/23 13/6 13/6 16/8 16/11
16/11 17/18 17/23 18/9 20/19 21/15
22/14
what's [3] 8/1 20/10 20/11
whatever [5] 6/11 6/23 8/22 12/5
22/10
when [11] 4/4 5/11 8/5 8/20 9/2 13/5
13/9 15/10 15/11 17/10 20/17
where [2] 8/25 9/11
Where's [1] 8/12
whereas [1] 6/22
whether [2] 14/14 18/1
which [8] 6/9 7/5 11/5 11/7 11/21
18/13 21/21 22/8
while [1] 20/2
who [1] 15/6
why [3] 7/15 15/14 22/11
will [8] 9/8 10/22 12/4 16/2 16/15
17/22 19/3 19/7
Wilshire [1] 2/8
withholding [1] 17/3
within [2] 18/4 18/10
without [3] 11/8 11/20 18/10
witness [13] 9/11 9/15 9/18 14/10 16/8
16/13 16/18 17/2 17/4 17/4 17/7 17/10
17/12
won't [2] 12/23 19/6
wondering [1] 21/9
word [1] 10/8
work [2] 5/15 12/10
working [1] 18/25
would [12] 8/25 9/20 11/24 13/1 14/2
14/15 14/18 14/19 17/1 17/6 17/21
19/23
writing [1] 8/20
written [1] 15/18
www.lisamariecsr.com [1] 1/24
Y
Yeah [3] 15/25 18/16 21/8
year [1] 6/19
Yes [12] 5/9 7/18 13/21 13/22 14/6
 15/1 15/4 16/6 18/3 18/11 19/8 19/11
yet [1] 8/24
you [74]
you're [12] 3/19 5/12 9/14 11/24 11/25
 12/1 12/11 12/13 15/23 16/17 22/3
 22/5
you've [3] 7/7 12/2 12/10
your [64]
Your Honor [29]
yourselves [1] 12/15
